Case 0:12-cv-60082-DPG Document 273 Entered on FLSD Docket 11/14/2013 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT O F FLORIDA

                        CASE NO.: 12-60082-CIV-SCOLA/OTAZO -REYES


   SECURITIES AND EXCHANGE COM M ISSION,

           Plaintiff,



   BAN G TLAN TIC BAN CO RP,IN C .and
   A LAN B .LEVA N ,

           Defendants.


                                    O R D ER VA CA T IN G
               REPO R T AN D REC O M M EN DA TIO N R E:D .E .148.155.159 & 156

           Upon review ofthe OrderReferring M otionsto M agistrateJudge,wherein the Honorable

   RobertN .Scola,Jr.,United States DistrictJudge,referred DocketEntries 148, 149,155,156,

   l58and 159 to theundersigned it/o beheard and determined in accordancewith g)28U.S.C.j
   636(b)(l)(A)and Rule 1(c)oftheLocalM agistrateJudgeRules''LD.E.1691, theundersigned
   hereby VACATES herReportand Recommendation RE:D.E.148,155,159 & 156 subm itted on

   November 13,2013 ED.E.270)and separately issuesan OrderRE:D.E.148,155,159 & l56
   setting forth the sam efindingsand conclusionsastheReportand Recom mendation.

           DONE AND ORDERED in chambers,atM iami,Florida this 7V day ofN ovember,

   2013.




                                                         '          ;zf
                                              A LICIA M .O TAZO - EY ES
                                              UNITED STATES M AGISTRATE JUDGE


   CC'     U .S.D istrictJudge RobertN .Scola,Jr.
           CounselofRecord
